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            IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                          Plaintiff,

      Vs.                                      No. 05-40017-01-SAC

EBRIMA TUNKARA,

                          Defendant.


                          MEMORANDUM AND ORDER

             In anticipation of the trial of this case scheduled to commence the

afternoon of August 10, 2005, the defendant has filed a number of motions:

Motion to Strike Government’s 21 U.S.C. § 851 Sentencing Information (Dk. 43);

Motion in Limine Regarding Immigration Status (Dk. 44); Motion to Strike

Government’s Expert Notice (Dk. 46); Motion in Limine Regarding Civil Forfeiture

(Dk. 47); and Motion in Limine Regarding Prior Conviction (Dk. 48). The

government discussed the defendant’s first two motions at the status conference on

August 3, 2005, and has filed a written response opposing the defendant’s last

three motions (Dk. 49). The court rules as follows on these pending matters.

MOTION TO STRIKE GOVERNMENT’S 21 U.S.C. § 851
SENTENCING INFORMATION (Dk. 43).
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             The defendant argues that the government’s § 851 notice (Dk. 41) is

insufficient to advise the defendant of the conviction at issue. The defendant

further contends that a record search for any prior conviction consistent with the

date and location provided in the § 851 notice has revealed only a misdemeanor

conviction for simple possession of marijuana. The government has not filed a

response opposing this motion. In its response to the defendant’s in limine

motion regarding this conviction, the government essentially concedes the

defendant’s prior conviction is a misdemeanor. The court grants the defendant’s

motion to strike the government’s notice for its failure to disclose a prior felony

drug conviction.

MOTION TO STRIKE GOVERNMENT’S EXPERT NOTICE (DK. 46)

             The government filed its notice of expert testimony pursuant to Fed.

R. Crim. P. 16(a)(1)(G). (Dk. 39). Over the span of its nine pages, the notice

discloses generic testimony that any law enforcement officer might offer in almost

any case involving drug trafficking charges. The defendant moves to strike the

notice and to prohibit the government from introducing any expert testimony except

for what is the subject of the parties’ stipulation regarding the laboratory reports on

the seized controlled substance. The defendant complains that the government’s

filing does not notify the defendant of what expert testimony the government

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intends to offer in this particular drug trafficking case. The defendant observes that

the Rule 16 notice refers to computers, weapons, crack cocaine, glassware, search

warrants, drug records, aerial photos, trophy photos, cutting agents and

hypodermic needles, none of which have any connection to the facts of this case.

The defendant protests length is no substitute for substance and that the

government’s notice leaves him in the dark as to the substance of expert testimony

to be offered in this trial.

               In response, the government criticizes the motion practice frequently

accompanying Rule 16 disclosures and explains that his practice has resulted in the

kind of Rule 16 notice provided in this case which admittedly “contain[s] many

items that would not be necessary in a system informed by common-sense.” (Dk.

49, p. 7). The government believes the notice satisfies the rule if defense counsel

reads it mindful of the facts in this case and without regard for the matters

obviously unrelated to this case. The government then makes an effort at pages

eight and nine of its response to narrow its notice by highlighting the expert

testimony that it expects to offer from the two highway patrol troopers.

               Rule 16(a)(1)(G) mandates that the government provide a written

summary of any expert witness testimony, including: (1) the witness's opinions; (2)

the bases and reasons for the opinions; and (3) the expert's qualifications. The

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government's written notice bespeaks of a boilerplate disclosure for drug trafficking

cases, as it comprehensively identifies the possible expert opinions from law

enforcement officers that could be or are likely to be offered in drug trafficking

cases. What it offers in assurance to the government by its obvious breadth, the

written notice frustrates for the defendant in its lack of case-specific information.

United States v. Edgerton, 2004 WL 2413553, at *4 (D. Kan. 2004). As written,

Rule 16 certainly contemplates a disclosure that informs the defendant of whom the

expert witnesses will be, what are their qualifications, what opinions are expected in

good faith to be the subject of testimony, and the bases and reasons for those

opinions. The government's written notice alone does not comply with Rule 16.

              The government response, however, cured the deficiencies with its

notice by outlining the expected expert testimony to be offered in this case. When

read in conjunction with the government’s response, the notice complies with the

letter and spirit of Rule 16. The defendant’s motion to strike is denied.

MOTION IN LIMINE STANDARDS

              A creature of neither the Federal Rules of Civil Procedure nor the

Federal Rules of Evidence, the motion in limine gives a court the chance " 'to rule in

advance of trial on the relevance of certain forecasted evidence, as to issues that are

definitely set for trial, without lengthy argument at, or interruption of, the trial.'"

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Palmieri v. Defaria, 88 F.3d 136, 141 (2nd Cir. 1996) (quoting Banque

Hypothecaire Du Canton De Geneve v. Union Mines, Inc., 652 F. Supp. 1400,

1401 (D.Md.1987)); see also see United States v. Cline, 188 F. Supp. 2d 1287,

1291-1292 (D. Kan. 2002). Though such rulings can work a savings in time, cost,

effort and preparation, a court is almost always better situated during the actual trial

to assess the value and utility of evidence. Thus, the in limine exclusion of

evidence should be reserved for those instances when the evidence plainly is

“inadmissible on all potential grounds.” Townsend v. Benya, 287 F. Supp. 2d 868,

872 (N.D. Ill. 2003). The better judicial practice is to defer rulings on relevancy and

unfair prejudice objections until trial when the factual context is developed. See

Sperberg v. Goodyear Tire & Rubber Co., 519 F.2d 708, 712 (6th Cir.), cert.

denied, 423 U.S. 987, 96 S.Ct. 395, 46 L.Ed.2d 303 (1975); Hunter v. Blair, 120

F.R.D. 667 (S.D. Ohio 1987); see, e.g., United States v. Lawless, 153 F.3d 729,

1998 WL 438662, at *4 (10th Cir. July 15, 1998) ("The admissibility of Rule 404(b)

evidence will generally be a fact-bound determination, depending to a significant

degree on the character of the other evidence admitted at trial, all of which requires

a balancing of probative value versus unfair prejudice at trial." (citations omitted)),

cert. denied, 525 U.S. 1027 (Nov. 30, 1998).

              A trial court may alter its limine ruling based on developments at trial

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or on its own sound judicial discretion. Luce v. United States, 469 U.S. 38, 41,

105 S.Ct. 460, 83 L.Ed.2d 443 (1984). Some in limine rulings, like those involving

Rule 403, "are necessarily preliminary because the required balancing may be

reassessed as the evidence actually comes in." United States v. Martinez, 76 F.3d

1145, 1152 (10th Cir.1996) (citing United States v. Mejia-Alarcon, 995 F.2d 982,

987 n. 2 (10th Cir.), cert. denied, 510 U.S. 927, 114 S.Ct. 334, 126 L.Ed.2d 279

(1993)). "A district court 'may change its ruling at any time for whatever reason it

deems appropriate.'" United States v. Martinez, 76 F.3d at 1152 (quoting Jones v.

Stotts, 59 F.3d 143, 146 (10th Cir.1995)).

MOTION IN LIMINE REGARDING IMMIGRATION STATUS (Dk. 44).

               The defendant seeks to exclude any evidence or reference to his non-

citizenship or the lawfulness of his immigration status. The government filed no

response to this motion. At the status conference, the government announced that

though evidence of the defendant being an African national is unavoidable in this

case, the government had no intention to mention or prove the defendant’s

immigration or citizenship status in the United States. The defendant concurred

with the government’s representation. The court believes the defendant’s motion is

moot in light of the government’s representation and the parties’ agreement on this

issue.

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MOTION IN LIMINE REGARDING CIVIL FORFEITURE (Dk. 47).

             The defendant seeks to exclude evidence that on February 2, 2002,

law enforcement officers with Maryland State Police seized $212,757.35 from the

defendant after a drug detection dog alerted on the money. In its Rule 404(b)

notice, the government asserts this “seizure of the drug money in Maryland goes to

establish that defendant is in the business of acquiring large amounts of marijuana

for resale.” (Dk. 40, p. 2). The defendant argues the evidence is irrelevant, unfairly

prejudicial, and fails to meet the requirements of Rule 404(b). The defendant

contends that there is nothing unlawful for a person to transport a large amount of

cash, that the drug detection dog’s alert is negligible evidence which does not

provide the relevancy nexus, that the seizure is too factually unrelated to be

probative, and that the evidence of the seizure would require additional litigation

over the money and the dog alert and would implicate concerns for confusion,

delay-causing mini-trials, and prejudice. Finally, the defendant insists the

government has not identified a proper 404(b) for offering this evidence.

             The government responds that courts have admitted evidence of

unexplained large amounts of currency as proof of narcotics trafficking. That the

drug dog alerted to the money strengthens the evidentiary connection between the

money and drug trafficking. The government believes this evidence is particularly

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probative of knowledge and intent based on the defendant’s apparent assertion that

he was an unwitting passenger on a bus transporting nearly one thousand pounds

of marijuana.

             Though inadmissible to prove a defendant’s character and the

inference that the defendant acted consistent with that character, evidence of other

crimes, wrongs, or acts may be admitted “for other purposes, such as proof of

motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

mistake or accident.” Fed. R. Evid. 404(b). As instructed by the Supreme Court

in United States v. Huddleston, 485 U.S. 681, 691-92 (1988), a court applies a

four-part test to determine admissibility under 404(b):

      (1) the evidence was offered for a proper purposes under Fed. R. Evid.
      404(b); (2) the evidence was relevant under Fed. R. Evid. 401; (3) the
      probative value of the evidence was not substantially outweighed by its
      potential for unfair prejudice under Fed. R. Evid. 403; and (4) the district
      court, upon request, instructed the jury to consider the evidence only for the
      purpose for which it was admitted.

United States v. Wilson, 107 F.3d 774, 782 (10th Cir. 1997). The government

must precisely articulate a proper purpose for the evidence, and the trial court must

specifically identify the proper purpose for which it is admitted. United States v.

Kendall, 766 F.2d 1426, 1436 (10th Cir. 1985), cert. denied, 474 U.S. 1081

(1986).


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             The government argues the contested evidence is probative of

knowledge and intent to distribute. Knowledge is at issue when a defendant denies

participation in and awareness of a criminal act. “The admissibility of prior acts

evidence to prove knowledge is based on the inference that a defendant is likely to

have gained the requisite criminal knowledge after repeated instances of conduct.”

United States v. Delay, 2004 WL 433808, at *2 (D. Kan. Feb. 6, 2004) (citing 2

Jack B. Weinstein & Margaret A. Berger, Weinstein’s Federal Evidence, §

404.22[2] (2d ed. 2003)). Rule 404(b) permits the introduction of other crimes to

demonstrate a defendant's “intent to commit a crime by demonstrating a common

scheme or plan.” United States v. Roberts, 185 F.3d 1125, 1141 (10th Cir. 1999),

cert. denied, 529 U.S. 1108 (2000). The first factor of the Huddleston analysis is

met.

             With regard to relevance, the second Huddleston factor, the Tenth

Circuit has observed that items like large sums of cash are sufficiently probative in

drug distribution cases as to be admissible under Rule 403. United States v.

Martinez, 938 F.2d 1078, 1083 (10th Cir. 1991). “[L]arge-scale cash transactions”

are prevalent in the drug distribution business. Id. “In upholding the admission of

evidence of the possession or expenditure of large sums of cash, some courts have

characterized drug distribution offenses as crimes where ‘pecuniary gain is the

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ususal motive for or natural result of’ their perpetration.” Id. at 1083 n. 7 (citations

omitted). “Accordingly, evidence of a defendant’s association with sizeable

amounts of cash may be probative of his or her involvement in that business, and

thus bear on the question of defendant’s guilt of the charged drug distribution

offenses.” Id. at 1085 (citation omitted); see United States v. Kiister, 208 F.3d

227, 2000 WL 228304, at *8 (10th Cir. 2000) (“unexplained wealth was admissible

under 404(b) to rebut Kiister’s claim that he was ignorant of the contents of the

package he possessed and that he had no motivation to buy or to sell drugs.”);

United States v. Hardwell, 80 F.3d 1471, 1490 (10th Cir. 1996) (“an individual’s

possession of large amounts of cash tends to show involvement in drug distribution

because it is among the tools of the trade of drug traffickers.”); United States v.

Ramirez, 63 F.3d 937, 943 (10th Cir. 1995) (prior arrest for drug trafficking while

possessing drugs and cash is probative of knowledge and intent). Of course, the

probative value of large quantities of cash will depend on whether other

circumstantial evidence links the cash to drug trafficking activities and ties the

defendant to those activities. See Martinez, 938 F.3d at 1085-86. The court is

satisfied that as proof of the defendant’s knowledge and intent there is some

probative value from his prior multi-state transportation of cash totaling

$212,757.35 to which a drug detection dog had alerted. See United States v.

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Hardwell, 80 F.3d at 1490 (404(b) evidence that the defendant possessed $40,000

in cash at an airport was admissible when a dog had alerted to the money but no

other drugs were found with the money).

              At the third stage, relevant evidence may be excluded if its probative

value is substantially outweighed by the danger of unfair prejudice. Fed. R. Evid.

403. Evidence is unfairly prejudicial not because it is merely damaging to a party’s

case, but because it will have an “‘undue tendency to suggest decision on an

improper basis, commonly, though not necessarily, an emotional one.’” United

States v. Martinez, 938 F.2d at 1082 (quoting Fed. R. Evid. 403 advisory

committee’s note). As noted above, evidence of large sums of cash, if sufficiently

probative in a drug trafficking case, may be admissible under Fed. R. Evid. 403.

Martinez, 938 F.2d at 1085. “The possibility that the seized cash was the product

of entirely lawful activities goes to the weight of the evidence, not its admissibility.”

Martinez, 938 F.2d at 1085 (citation omitted).

              The probative value of the seized money here depends on the

inferences to be drawn from the amount of the cash, the location and timing of the

seizure, and the dog alert. The lack of other circumstantial evidence severely

undermines the inferences of criminal activity to be drawn from this seizure.

Specifically, the government has not articulated evidence that substantially links the

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cash to any participation by the defendant in prior marijuana trafficking activities or

that links any unlawful activities to be inferred from the defendant’s possession of

the cash to the defendant’s knowledge and participation in the marijuana

distribution offense charged here. Important to the court’s ruling is that the

defendant is charged with a single count of possession of marijuana with the intent

to distribute it. This is not a conspiracy case in which the seizure of cash and the

dog alert occurred within a series of related events close in time. See United States

v. Hardwell, 80 F.3d at 1488, 1490. The government points to the canine’s alert to

the money as the only circumstantial evidence that links the cash to drug trafficking.

The government, however, does not explain how the alert makes it more probable

that the cash was involved with the prior trafficking of marijuana and not some

other controlled substance or that the cash was necessarily involved in a large-scale

drug trafficking transaction as opposed to some other unlawful or lawful activity.

Because more than three years separate the seizure of the cash and the offense in

question, any inferences of marijuana trafficking being connected to this particular

sum of cash are strained. In short, the absence of other circumstantial evidence to

sustain an inference that the cash was involved with the trafficking of marijuana so

weakens the probative value of this evidence that it is substantially outweighed by

the unfair prejudice of this evidence being used as bad character evidence, see

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United States v. Martinez, 938 F.2d at 1085-86, and by the undue delay caused by

re-litigating the forfeiture case and exploring the significance of a canine’s alert to

money. Thus, the court grants the defendant’s motion to exclude this evidence of

the seized cash on the basis of Fed. R. Evid. 403.

MOTION IN LIMINE REGARDING PRIOR CONVICTION (Dk. 48).

              The defendant seeks to exclude evidence of his prior conviction for

possession of marijuana in DeKalb County, Georgia. Based on the defendant’s

apparent denial that he was unaware of the nearly 500 kilograms of marijuana stored

along the aisle of the bus, the government intends to offer this conviction to show

intent, knowledge, and absence of mistake or accident. Specifically, government

believes this evidence will help establish the defendant’s knowledge of marijuana

itself and its odor and further prove the defendant knew the boxes and suitcases on

the bus contained marijuana. The defendant argues the prior conviction concerned

an event occurring in 1998 and, thus, is too old to have any real relevance in this

case. The defendant contests the relevance of a simple possession conviction in

proving knowledge in a distribution case when the events are factually dissimilar

and temporally remote.

              Evidence of prior drug involvement is relevant when it relates to a

matter that is at issue in the case. United States v. Hardwell, 80 F.3d at 1489. The

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general rule in this circuit is “‘prior narcotics involvement is relevant when that

conduct is close in time, highly probative, and similar to the activity with which the

defendant is charged.’” United States v. Becker, 230 F.3d 1224, 1232 (10th Cir.

2000) (quoting United States v. Wilson, 107 F.3d 774, 785 (10th Cir. 1997)), cert.

denied, 532 U.S. 1000 (2001). Indeed, “the probative value of evidence of a prior

illegal act depends upon the temporal proximity between the prior and charged

acts.” United States v. Massey, 48 F.3d 1560, 1571 (10th Cir.), cert. denied, 515

U.S. 1167 (1995). The Tenth Circuit has “no absolute rule regarding the number of

years that can separate offenses,” but the time must be reasonable under the facts

and circumstances of the case. Id. at 1571-72 (quotation omitted).

              The government offers that the prior conviction involves the

defendant’s actual possession of raw marijuana. A defendant’s prior possession

of marijuana is relevant evidence in proving that the defendant knows the smell of

marijuana and that any such odor in the passenger van should have alerted him to

the presence of marijuana. When a prior act is offered to show knowledge it "need

not be similar to the charged act as long as the prior act was one which would tend

to make the existence of the defendant's knowledge more probable than it would be

without the evidence." United States v. Santa-Cruz, 48 F.3d 1118, 1119 (9th

Cir.1995) (internal quotation omitted). The defendant’s prior handling and

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exposure to raw marijuana’s odor is enough similarity because it makes the

defendant’s knowledge that the boxes and suitcases contained marijuana more

probable than not.

              The defendant argues that a span of nearly seven years between the

prior events resulting in the state conviction and the federal offense is too long.

Indeed, the Tenth Circuit has held that “[f]our to six years transcends our

conception of ‘close in time’ as established in Wilson, 107 F.3d at 785.” United

States v. Becker, 230 F.3d at 1232 (other citations omitted). By the same token,

“there is no absolute rule regarding the time that can separate a prior act from the

charged offense.” United States v. Olivo, 80 F.3d 1466, 1468 (10th Cir. 1996)

(citing United States v. Cuch, 842 F.2d 1173, 1178 (10th Cir. 1988). The

necessary closeness in time is a matter committed to the trial court’s discretion and

resolved on a case-specific inquiry. Id. at 1469. The Tenth Circuit has affirmed

the admissibility of prior bad acts occurring more than a decade prior to the

offense in question. United States v. Wacker, 72 F.3d 1453, 1468 -1469 (10th Cir.

1995).

              The age of the possession conviction and the lack of similarity to the

case in question precludes its admissibility to prove intent, but the court believes

the government may be able to establish its probative value at trial for purposes of

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proving knowledge and the absence of mistake or accident. In denying knowledge

that nearly 1,000 pounds of marijuana was packaged in boxes and suitcases placed

around the passenger van, the government’s proof of this element is central to the

prosecution. As discussed above, the odor of marijuana is some evidence of

knowledge, particularly when one should be able to recognize the odor by reason

of prior extended exposure to the odor from having possessed it on a prior

occasion. Neither the case law nor the record indicates that the probative value of

having gained knowledge about the smell of raw marijuana is lost when nearly seven

years has passed. The court, however, will delay its ruling until trial when it has a

better understanding of the evidence concerning the packaging of the marijuana, the

number of packages, and the presence of any emanating odor in the passenger van.

The court directs the government and its witnesses not to mention before the jury

this prior conviction or the conduct underlying it without government’s counsel

first approaching the bench and proffering its relevance and admissibility under

Rules 404(b) and 403.

             IT IS THEREFORE ORDERED that the defendant’s Motion to Strike

Government’s 21 U.S.C. § 851 Sentencing Information (Dk. 43) is granted;

             IT IS FURTHER ORDERED that the defendant’s Motion to Strike

Government’s Expert Notice (Dk. 46) is denied;

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             IT IS FURTHER ORDERED that the defendant’s Motion in Limine

Regarding Immigration Status (Dk. 44) is denied as moot;

             IT IS FURTHER ORDERED that the defendant’s Motion in Limine

Regarding Civil Forfeiture (Dk. 47) is granted;

             IT IS FURTHER ORDERED that the defendant’s Motion in Limine

Regarding Prior Conviction (Dk. 48) is taken under advisement.

             Dated this 9th day of August, 2005, Topeka, Kansas.



                                  s/ Sam A. Crow
                                  Sam A. Crow, U.S. District Senior Judge




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